 Case 3:21-cv-00662-TJC-MCR Document 1 Filed 07/01/21 Page 1 of 5 PageID 1




               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

BYRON J. DOUGLAS,

      Plaintiff,

v.                                     Case No.:

BAYMEADOWS HOSPITALITY
SERVICES LLC,

    Defendant.
____________________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, BYRON J. DOUGLAS, by and through undersigned counsel,

brings this action against Defendant, BAYMEADOWS HOSPITALITY SERVICES

LLC (“Defendant”), and in support of his claims states as follows:

                        JURISDICTION AND VENUE

      1.     This is an action for damages under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages under 29

U.S.C. § 215(a)(3).

      2.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331

and 29 U.S.C. § 201 et seq.

      3.     Venue is proper in the Middle District of Florida, because all of the

events giving rise to these claims occurred in Duval County, Florida.

                                     PARTIES

      4.     Plaintiff is a resident of Duval County, Florida.
 Case 3:21-cv-00662-TJC-MCR Document 1 Filed 07/01/21 Page 2 of 5 PageID 2




         5.    Defendant operates a hospitality services company in Jacksonville,

in Duval County, Florida.

                             GENERAL ALLEGATIONS

         6.    Plaintiff has satisfied all conditions precedent, or they have been

waived.

         7.    Plaintiff has hired the undersigned attorneys and agreed to pay them

a fee.

         8.    Plaintiff requests a jury trial for all issues so triable.

         9.    At all times material hereto, Plaintiff was “engaged in the production

of goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and

as such was subject to the individual coverage of the FLSA.

         10.   At all times material hereto, Defendant was an “employer” within the

meaning of the FLSA, 29 U.S.C. § 203(d).

         11.   Defendant continues to be an “employer” within the meaning of the

FLSA.

         12.   At all times material hereto, Defendant was and continues to be an

enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r) and 203(s).

         13.   At all times relevant to this action, Defendant was engaged in

interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

         14.   At all times relevant to this action, the annual gross sales volume of

Defendant exceeded $500,000 per year.



                                            2
 Case 3:21-cv-00662-TJC-MCR Document 1 Filed 07/01/21 Page 3 of 5 PageID 3




                                     FACTS

      15.    Plaintiff began working for Defendant as a maintenance worker in

February 2019 and he worked in this capacity until March 27, 2021.

      16.    At various times material hereto, Plaintiff worked hours in excess of

forty (40) hours within a work week for Defendant, and he was entitled to be

compensated for these overtime hours at a rate equal to one and one-half times

his regular hourly rate.

      17.    Defendant failed to pay Plaintiff an overtime premium for all of the

overtime hours that he worked, in violation of the FLSA.

      18.    Plaintiff worked at three separate hotels owned by Defendant.

      19.    In an effort to avoid paying Plaintiff overtime, Defendant

compensated Plaintiff based on the hours Plaintiff worked at each individual

hotel rather than Plaintiff’s combined work hours, in violation of the FLSA.

      20.    Defendant failed to pay adequate overtime compensation to Plaintiff

during weeks in which (i) he worked for three hotels owned by Defendant and (ii)

his combined work hours exceeded 40 hours a week.

      21.    Defendant’s actions were willful, and showed reckless disregard for

the provisions of the FLSA.

                 COUNT I – FLSA OVERTIME VIOLATION

      22.    Plaintiff realleges and readopts the allegations of paragraphs 1

through 21 of this Complaint, as though fully set forth herein.



                                       3
 Case 3:21-cv-00662-TJC-MCR Document 1 Filed 07/01/21 Page 4 of 5 PageID 4




      23.   During the statutory period, Plaintiff worked overtime hours while

employed by Defendant, and he was not compensated for all of these hours in

accordance with the FLSA.

      24.   The foregoing conduct, as alleged, constitutes a willful violation of

the FLSA, within the meaning of 29 U.S.C. § 255(a).

      25.   As a result of the foregoing, Plaintiff has suffered damages.

      WHEREFORE, Plaintiff demands:

            a)     Judgment against Defendant for an amount equal to Plaintiff’s

                   unpaid back wages at the applicable overtime rate;

            b)     Judgment      against       Defendant   stating   that   Defendant’s

                   violations of the FLSA were willful;

            c)     An equal amount to Plaintiff’s overtime damages as liquidated

                   damages;

            d)     To the extent liquidated damages are not awarded, an award

                   of prejudgment interest;

            e)     A declaratory judgment that Defendant’s practices as to

                   Plaintiff were unlawful, and grant Plaintiff equitable relief;

            f)     All costs and attorney’s fees incurred in prosecuting these

                   claims; and

            g)     For such further relief as this Court deems just and equitable.

                            JURY TRIAL DEMAND

      Plaintiff demands trial by jury as to all issues so triable.

                                           4
Case 3:21-cv-00662-TJC-MCR Document 1 Filed 07/01/21 Page 5 of 5 PageID 5




    Dated this 1st day of July, 2021.

                                    Respectfully submitted,




                                    Christopher J. Saba
                                    Florida Bar Number:
                                    Wenzel Fenton Cabassa P.A.
                                    1110 N. Florida Avenue
                                    Suite 300
                                    Tampa, Florida 33602
                                    Main No.: 813-224-0431
                                    Direct No.: 813-321-4086
                                    Facsimile No.: 813-229-8712
                                    Email: csaba@wfclaw.com
                                    Email: tsoriano@wfclaw.com
                                    Attorneys for Plaintiff




                                        5
